      Case 1:18-cr-20669-RNS Document 9 Entered on FLSD Docket 07/05/2018 Page 1 of 4
AO 472(Rev.09/16)OrderofDetentionPendingTrial


                                   U NITED STATES D ISTRICT COURT
                                                            forthe
                                                   Southern DistrictofFlorida

                  United StatesofAmerica
                              V.
                        Evelio Suarez,                            CaseN o. 1:18-mj-02965-EGT




                                   O RD ER O F D ETENTIO N PEND ING TR IA L
                                                PartI- Eligibility for Detention

        Upon the
                 L M otionoftheGovernmentattorneypursuantto 18U.S.C.j3142(9(1),or
                 Z M otionoftheGovernmentorCourt'sownmotionpursuantto l8U.S.C.j3142(9(2),
the Courtheld a detention hearing and found thatdetention iswarranted.Thisordersetsforth theCourt'sfindings offact
andconclusionsoflaw,asrequired by l8U.S.C.j3142(i),inadditionto anyotherGndingsmadeatthehearing.
                 Part11-FindingsofFactandLaw astoPresumptionsunderj3142(e)
I
Z A.RebuttablePresumptionArisesUnder18U.S.C.j3142(e)(2)(previousviolatorllThereisarebuttable
       presumption thatno condition orcom bination ofconditionswillreasonably assure the safety ofany otherperson
       and thecomm unity because thefollowing conditionshavebeen m et:
            IZI(1)thedefendantischargedwith oneofthefollowingcrimesdescribed in 18U.S.C.j3142(9(1):
                   IZI(a)acrimeofviolence,a violationof18 U.S.C.j 1591,oranoffenselisted in 18U.S.C.j
                         2332b(g)(5)(B)forwhichamaximum term ofimprisonmentofl0yearsormoreisprescribed;or
                   IZl(b)anoffenseforwhichthemaximum sentenceislifeimprisonmentordeath;or
                   EZ1(c)anoffenseforwhicha maximum term ofimprisonmentof10yearsormoreisprescribedinthe
                         ControlledSubstancesAct(2lU.S.C.jj801-904),theControlledSubstanceslmportand Export
                         Act(21U.S.C.jj951-971),orChapter705ofTitle46,U.S.C.(46U.S.C.jj70501-70508);or
                   IZ1(d)any felony ifsuchperson hasbeen convictedoftwoormoreoffensesdescribed insubparagraphs
                         (a)through(c)ofthisparagraph,ortwoormoreStateorlocaloffensesthatwouldhavebeen
                         offensesdescribedinsubparagraphs(a)through(c)ofthisparagraph ifacircumstancegiving rise
                         to Federaljurisdiction hadexisted,oracombinationofstlch offenses;or
                   EEI(e)any felonythatisnototherwiseacrimeofviolencebutinvolves:
                         (i)aminorvictim;(ii)thepossessionofafirearm ordestructivedevice(asdefinedin 18U.S.C.j
                         92l);(iii)anyotherdangerousweapon;or(iv)afailureto registerunder18U.S.C.j2250.  ,and
             EZ (2)thedefendanthaspreviously beenconvictedofaFederaloffensethatisdescribedin 18U.S.C.j
                   3142(9(1),orofaStateorlocaloffensethatwouldhavebeen such anoffenseifacircumstancegiving
                   risetoFederaljurisdictionhadexisted;and
             C1(3)theoffensedescribedinparagraph(2)aboveforwhichthedefendanthasbeen convictedwascommitted
                   whilethe defendantwason release pendingtrialforaFederal,State,orlocaloffense;and
            IZI(4)aperiodofnotmorethanfiveyearshaselapsedsincethedateofconviction,orthereleaseofthe
                  defendantfrom imprisonment,fortheoffensedescribed in paragraph(2)above,whicheverislater.
                                                                                                            Page1of4
      Case 1:18-cr-20669-RNS Document 9 Entered on FLSD Docket 07/05/2018 Page 2 of 4
AO 472 (Rev.09/16)OrderofDetention PendingTrial

Z B.RebuttablePresumptionArisesUnder18U.S.C.j3142(e)(3)(narcotics,hrearm,othero.
                                                                               J#rsel-
                                                                                     ):Thereisa
       rebuttable presumption thatno condition orcombination ofconditionswillreasonably assurethe appearance ofthe
       defendantasrequired and the safety ofthe com munity because there isprobable cause to believethatthe defendant
       comm itted one ormore ofthe following offenses:
             Cl(1)anoffenseforwhichamaximum term ofimprisonmentof10yearsormoreisprescribedinthe
                  Controlled SubstancesAct(21U.S.C.jj801-904),theControlledSubstancesImportandExportAct
                  (21U.S.C.jj951-971),orChapter705ofTitle46,U.S.C.(46U.S.C.jj70501-70508);
             Z (2)an offenseunder18U.S.C.jj924(c),956(a),or2332b;
             Q (3)anoffenselisted in 18U.S.C.j2332b(g)(5)(B)forwhichamaximum term ofimprisonmentof10years
                    ormore isprescribed;
             (Z1(4)an offenseunderChapter77 ofTitle 18,U.S.C.(l8U.S.C.jj 1581-1597)forwhichamaximum term
                    ofimprisonmentof20 years ormore isprescribed;or
             (Z1(5)anoffenseinvolvingaminorvictim under18U.S.C.jj1201,1591,2241,2242,2244(a)(1),2245,
                   2251,2251A,2252(a)(1),2252(a)(2),2252(a)(3),2252A(a)(1),2252A(a)(2),2252A(a)(3),2252A(a)(4),
                    2260,2421,2422,2423,or2425.

(ZIC.ConclusionsRegarding Applicability ofAnyPresumption EstablishedAbove
        IZIThedefendanthasnotintroducedsufficientevidencetorebutthepresumptionabove.
                 OR
             I
             Z1Thedefendanthaspresented evidencesufficientto rebutthe presumption,butafterconsidering the
               presum ption and theotherfactorsdiscussed below,detention iswarranted.

                                PartIH - Analysisand Statem entoftheReasonsforD etention
         Afterconsideringthefactorssetforthin l8U.S.C.j3l42(g)andtheinformation presentedatthedetention
hearing,theCourtconclndesthatthe defendantm ustbe detained pending trialbecause the Governmenthasproven:
   IZ1By clearand convincing evidencethatno condition orcom bination ofconditionsofreleasew illreasonably assure
      thesafety ofany otherperson and thecomm unity.
   X By a preponderanceofevidencethatno condition orcombination ofconditionsofreleasew illreasonably assurethe
      defendant'sappearance asrequired.
ln addition to any findingsm ade on therecord atthehearing,thereasonsfordetention includethe following:
             X W eightofevidence againstthedefendantis strong
             Z Subjecttolengthy period ofincarcerationifconvicted
             Z Priorcrim inalhistory
             X Participation in criminalactivity whileonprobation,parole,orsupervision
             Q Historyofviolenceoruseofweapons
             (Z1History ofalcoholorsubstance abuse
              X Lack ofstable em ployment
              Z Lack ofstable residence
              (
              Z)LackofGnancially responsiblesureties
              (
              Z1Lackofsignificantcommunity orfamilytiestothisdistrict
              Z1Significantfam ily orothertiesoutside the United States
              Z Subjecttoremovalordeportationafterservinganyperiodofincarceration
                                                                                                             Page2of4
      Case 1:18-cr-20669-RNS Document 9 Entered on FLSD Docket 07/05/2018 Page 3 of 4
A0 472(Rev.09/16)OrderofDetentionPendingTrial
            Z Priorfailureto appearincourtasordered
            C1Priorattemptts)to evadelaw enforcement
            Z Useofaliastes)orfalsedocuments
            IZIBackground inform ation unknown orunverified
            Z Priorviolationsofprobation,parole,orsupervised release

OTHER REASONS OR FURTHER EXPLANA TION:

On July 2,2018,the Courtheld a detention hearing atwhich the governm entproffered the following evidence.

On June 21,20l8,the defendantwascharged by Complaintwith conspiracy to com m itm oney laundering,bribery ofa
bankofficial,andobstructionofjustice. Thegovernmentprofferedevidencethatthedefendantengaged ina schemeto
Iaunderthe proceeds offraudulentactivity,including health care fraud,identity thefttax refund fraud,m ortgage fraud,
and other fraudulent proceeds,through three check-cashing stores controlled by the defendant. The United States
proffered thatin 2013 and 2014 the three storescashed nearly $500 million in checks,nearly alIofwhich were the
proceedsoffraud.

In particular,the governm entexplained thatthe defendantallowed personsto cash checksfrom fraudulentactivity in the
names of individuals who were not presentto cash the checks,and often using false identification docum ents. W ith
respectto theconspiracy to commitmoney laundering,thegovernmentprofferedthat: (a)multiplewitnesses,including
nominee ownersofthe check-cashing stores,would testify thatthe defendantcontrolled the three check-cashing stores
and received halfofthe proceedsfrom the stores;(b)multiple witnesseswould testify thatthe defendantknowingly
cashed fraudulenttax refund checks and charged an extra thirty percentfor cashing such checks;and (c) multiple
witnessesalso would testify thatthedefendantknowingly cashed health care and mortgage fraud checksand charged an
extra ten percentforcashing these checks. The governmentalso proffered thatthe defendanthad unexplained w ealth.
He spent approximately $150,000 at Louis Vuitlon since 2013 and purchased three different homes (each worth
approximately $500,000)in M iramarwithfundsfrom thecheck-cashing stores.
ln addition,the governmentproffered evidence thatthe defendantbribed a bank em ployee with cash paym ents in order
to obtain bank statementsofthe check-cashing storesand to receive advance loansfrom the bank forthe check-cashing
stores. Finally,the governmentproffered evidence thatthe defendantinstructed a num berofhis formertellersto testify
falsely beforv the grand jury thatthe defendantwas notinvolved with the check-cashing stores. The government
proffered thatoneofthetellersadmitted thatshe had testified falsely beforethe grandjury. Thistellerconfirmed that
the defendantcontrolled the check-cashing storesand thatthedefendantcashedfraudulenthealth care checksforaten
percentfee.
The defendanthasa priorfederalconviction from 2001foraccessdevice fraud forw hich he served 12 m onths in prison.
The defendantalso hasa state conyiction from 2013 relating to the cashinj ofchecks from workers'compensation
fraud. The governmentproffered thatthedefendantcomm itted the instantoffensewhile on probation forthatoffense.
The defendant, a citizen of Cuba,arrived in this country in l995,and has an outstanding deportation order. The
defendantdoes notappearto have a stable residence;he told PretrialServicesthathe iscurrently residing with a friend.
The defendantadvised PretrialServicesthathe has a negative networth of approximately $48,467.The defendant
reported to pretrial services that he has worked at a bakery for the last five months making monthly income of
approximately $l,000. The defendantdid notdisclose to PretrialServiceshisemploymentfrom 20l0 to January 2018.
ltis very difficultto assessthe accuracy ofthe defendant's assets,given hisdocumented history of placing substantial
assetshecontrolsin other'snames. Nonetheless,the Courthasno indication thatthe defendanthassignificantassetsin
hisnametotiehim to the United States.
Finally,the governmentproffered that if he is convicted,the advisory Sentencing Guidelines willcallfora term of
incarceration of360 m onthsto life. The severity ofthe potentialsentence providesfurtherincentive forthe defendantto
tlee beforetrial.
                                                                                                             Page3of4
      Case 1:18-cr-20669-RNS Document 9 Entered on FLSD Docket 07/05/2018 Page 4 of 4
AO 472(Rev.09/16)OrderofDettntionPendingTrial

Forthese reasons,and forthe reasonsthe Courtstated atthe pretrialdetention hearing,which the Courtincorporatesby
reference into this Order,the Courtfinds by a preponderance of the evidence that that there is no com bination of
conditionsthatwould reasonably assure the Courtthatthedefendantwillappearfortrial,ifreleased on bond.
                                         PartIV - Direvtions Regarding Detention
Thedefendantisrem anded to the custody oftheAttorney Generalorto the Attorney General'sdesignated representative
forconfinem entin a correctionsfacility separate,to theextentpracticable,from personsawaiting orserving sentencesor
being held in custody pending appeal. Thedefendantmustbe afforded a reasonable opportunity forprivate consultation
with defense counsel. On order of a courtofthe United States oron requestofan attorney for the Government,the
person in charge ofthe corrections facility m ustdeliverthe defendantto a United States M arshalforthe purpose ofan
appearance in connectionwith a courtproceeding.

 oate,     T. 3 & /:                                           t)                  *'
                                                                    United StatesM agist tc udge




                                                                                                            Page4 of4
